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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA

                v.                                      Criminal Action No. 21-305 (JEB)


 SARA CARPENTER,

         Defendant.


                                             ORDER

       Defendant Sara Carpenter here moves for a change of venue, claiming that she cannot

receive a fair and impartial trial in the District of Columbia. Defendant recognizes that her

Motion is “largely similar to the motion this Court denied in United States v. Ballenger et al., 21-

CR-719 (JEB).” ECF No. 58 (Venue Motion) at 1 n.1. Indeed, the Motion is in substance

identical to the one that the Court denied in Ballenger. The only real difference is that Defendant

here identifies more media coverage of January 6th than the defendant in Ballenger did. This

Court again concludes, however, that such coverage has been “national, not local, in nature,” and

that a change of venue thus would be “of only doubtful value.” United States v. Ballenger, No.

21-719, 2022 WL 16533872, at *4 (D.D.C. Oct. 28, 2022). For the reasons given in Ballenger,

then, the Court ORDERS that Defendant’s [58] Motion to Change Venue is DENIED.



                                                             s/ James E. Boasberg
                                                             JAMES E. BOASBERG
                                                             United States District Judge
Date: January 31, 2023




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